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 6                         IN THE UNITED STATES DISTRICT COURT

 7                                  FOR THE DISTRICT OF ARIZONA

 8    Phu Trong Bui,                             )    No. CV-17-04376-PHX-SPL
                                                 )
 9                                               )
                       Plaintiff,                )    ORDER
10    vs.                                        )
                                                 )
11                                               )
      Equifax Information Services, LLC,         )
12                                               )
                       Defendant.                )
13                                               )
                                                 )
14
15          The Court has been advised that the parties have reached a settlement in this case

16   (Doc. 30). Accordingly,

17          IT IS ORDERED that this case will be dismissed with prejudice by the Clerk of

18   Court without further notice on November 14, 2018 unless a stipulation to dismiss or

19   request for reinstatement on the Court’s trial calendar is filed prior to the dismissal date.

20          Dated this 15th day of October, 2018.

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                                                        Honorable Steven P. Logan
23                                                      United States District Judge
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